Case 3:17-cv-00072-NKM-JCH Document 1161 Filed 10/04/21 Page lof2 Pageid#:
IN THE UNITED STATES DISTRICT COURT FOR THE ageid#: 19865

ICE US IST. COURT
WESTERN DISTRICT OF VIRGINIA CARR AT CHARLOTTE SVILE, VA
Charlottesville Division /

OUI 04 2021

Elizabeth Sines, et al
Plaintiffs

 

7 Case No: 3:17-cv-072.

Jason Kessler, et al

Defendants

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MOTION IN LIMINE TO PERMIT CANTWELL COURT CLOTHES AND BAR
EVIDENCE, TESTIMONY, OR ARGUMENT OF HIS CURRENT INCARCERATION

Comes now the Defendant, Christopher Cantwell, and, he Moves this
Court in Limine to Permit him Court Clothes and Bar Evidence,
Testimony, or Argument of His Current Incarceration. In support,

he states as follows:

1) Cantwell is currently incarcerated on charges which are so
far in time, geography, and subject matter from the matter before
this Court, that axpoeure of:the jury to the facts surrounding
that case can only confuse and distract the Jury from the facts
at issue here. On those grounds, Cantwell has moved separately to
‘exclude evidence of his “prior alleged felonious conduct".

2) The Court granted Cantwell's earlier motion to be transported
to this District for trial, and assuming he is to be housed at
the Albemarle Charlottesville Regional Jail, he will likely be
taken to and from the Courthouse in a cartoonish black and white

striped jumpsuit, or similarly conspicuous attire if housed elsewhere.

3)’ koudly advertising Cantwell's current incarceration will have.
an unduly prejudicial effect on the Jury, even more so than information
about his conviction, by inserting in their minds the idea that

he has already been convicted of the facts they are tasked to

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decide in this case.

4.) Cantwell's release is scheduled for December of 2022, which
should have him in a halfway house or home confinement by or
before August of 2022. Cantwell is neither a fool nor a flight

risk.

5) To avoid undue prejudice to Cantwell? and his codefendants,
the Court should allow Cantwell to have Courtroom appropriate
attire delivered either to the Courthouse, or wherever fie is

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to be housed, and permit him to change into ‘such clothing before

being seen by the Jury.

6) The Court should also instruct the proper authorities to

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remove Cantwell's handcuffs before the Jury enters the Courtroom,

and wait until the Jury has left before putting them back on.

7) Separately.from,:and indeed, more importantly than, the question
of Cantwell’s allged felonious conduct, the Court should exclude

evidence, testimony or argument about Cantwell's current incarceration.

Respectfully Submitted
Christopher Cantwell

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CERTIFICATE OF SERVICE

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I hereby certify that this Motion tn Liming was matled to the Clerk

of the Court, and/or handed to USP Marion staff members for electronic

transmission to the Court; on this 4th day of October 2021,

Christopher Cantwell

 
